Case 3:23-cv-00811-MMH-LLL      Document 49     Filed 03/29/24   Page 1 of 57 PageID 594




                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                            JACKSONVILLE DIVISION

  CHARLES S. WEEMS, IV, an individual,
  KERRI WEEMS, an individual,
  and CELEBRATION
  GLOBAL, INC., a Florida not for profit            Case No.: 3:23-cv-811-MMH-LLL
  corporation, HONEY LAKE FARMS,
  INC., a Florida not for profit corporation,
  NORTHSTREAM MANAGEMENT
  GROUP, LLC, a Florida limited liability
  company, and WEEMS GROUP, LLC,
  a Florida limited liability company,

               Plaintiffs,

  v.

  ASSOCIATION OF RELATED CHURCHES,
  a Texas not-for-profit corporation,
  CHRIS HODGES, individually, and
  DINO RIZZO, individually,

               Defendants.
                                                /

         FIRST AMENDED COMPLAINT & DEMAND FOR JURY TRIAL

         Plaintiffs, Charles Stovall Weems, IV (“S Weems”), Kerri Weems

  (“K. Weems”), Celebration Global, Inc. (“Celebration Global”), Honey Lake Farms,

  Inc.   (“Honey    Lake     Farms”),   NorthStream    Management      Group,   LLC

  (“NorthStream”), and Weems Group, LLC (“Weems Group”), sue Defendants,

  Association of Related Churches (“ARC”), Chris Hodges (“Hodges”), and Dino

  Rizzo (“Rizzo”), and allege as follows:
Case 3:23-cv-00811-MMH-LLL         Document 49      Filed 03/29/24     Page 2 of 57 PageID 595




                       PARTIES, JURISDICTION, AND VENUE

         1.     This is an action for damages well in excess of $75,000.00, exclusive of

  interest, costs, and attorneys’ fees, as well as equitable relief.

         2.     Plaintiff, S. Weems, is a resident and citizen of Duval County, Florida.

         3.     Plaintiff, K. Weems, is a resident and citizen of Duval County, Florida.

         4.     Plaintiff, Celebration Global, is a Florida not for profit corporation with

  its principal place of business located at 2627 Belfort Road, Jacksonville, Florida

  32216.

         5.     Plaintiff, Honey Lake Farms, is a Florida not for profit corporation with

  its principal place of business located at 2627 Belfort Road, Jacksonville, Florida

  32216.

         6.     Plaintiff, NorthStream, is a Florida limited liability company with its

  principal place of business located at 2627 Belfort Road, Jacksonville, Florida 32216,

  whose sole members are S. Weems and K. Weems.

         7.     Plaintiff, Weems Group, is a Florida limited liability company with its

  principal place of business located at 2627 Belfort Road, Jacksonville, Florida 32216,

  whose sole members are S. Weems and K. Weems.

         8.     Defendant, ARC, is a Texas not-for-profit corporation with its principal

  place of business located at 1201 Lee Branch Lane, Birmingham, AL 35242.

         9.     Defendant, Hodges, is a resident and citizen of Birmingham, Alabama.

         10.    Defendant, Rizzo, is a resident and citizen of Birmingham, Alabama.




                                                2
Case 3:23-cv-00811-MMH-LLL        Document 49    Filed 03/29/24   Page 3 of 57 PageID 596




           11.   Non-Party, John Siebeling, is a resident and citizen of Memphis,

  Tennessee.

           12.   Non-party, Celebration Church, is a Florida not-for-profit corporation

  with its principal place of business at 9555 R.G. Skinner Parkway, Jacksonville,

  Florida 32256.

           13.   This Court has subject matter jurisdiction over this action pursuant to

  28 U.S.C. §1332 because it involves claims between citizens of different states with an

  amount in controversy that exceeds the sum of $75,000.00, exclusive of interest and

  costs.

           14.   Pursuant to 28 U.S.C. §1391, venue is proper in this District because a

  substantial part of the events and omissions giving rise to the claims alleged herein

  occurred in this District.

           15.   Based on the facts alleged throughout this First Amended Complaint,

  Defendants, directly and/or through employees, agents, authorized representatives,

  co-conspirators, subsidiaries, affiliates, and/or other persons, entities, and/or

  representatives acting under their management, direction, supervision, and/or control,

  engaged in numerous contacts in, with, and/or directed at the state of Florida upon

  which this action is based.

           16.   Based on the facts alleged throughout this First Amended Complaint,

  Defendants knowingly and intentionally entered into one or more contracts or

  agreements, pursuant to which they, directly and/or through employees, agents,

  authorized representatives, co-conspirators, subsidiaries, affiliates, and/or other


                                             3
Case 3:23-cv-00811-MMH-LLL        Document 49     Filed 03/29/24   Page 4 of 57 PageID 597




  persons, entities, and/or representatives acting under their management, direction,

  supervision, and/or control, committed and engaged in tortious and overt acts within

  and directed at the state of Florida.

        17.    Based on the facts alleged throughout this First Amended Complaint, this

  Court has personal jurisdiction over each Defendant under Section 48.193, Florida

  Statutes, because they each personally, directly, in concert with one another, and/or

  through an employee, agent, co-conspirator, subsidiary, affiliate, and/or other person

  or entity acting under their management, supervision, direction, and/or control,

  engaged in one or more of the following acts:

               a.     committing tortious acts within the state of Florida;

               b.     committing intentional torts expressly aimed at Florida,
                      effects of which were suffered in Florida;

               c.     operating, conducting, engaging in, or carrying on a
                      business or business venture within the state of Florida, or
                      having an office in Florida;

               d.     engaging in substantial and not isolated activity within the
                      state of Florida; and/or

               e.     engaging in a conspiracy to commit tortious acts against
                      Plaintiffs within the state of Florida and engaging in overt
                      acts in furtherance of that conspiracy within or directed at
                      the state of Florida.

        18.    Based on the facts alleged throughout this First Amended Complaint,

  sufficient minimum contacts exist between each Defendant and the state of Florida to

  satisfy Due Process under the United States Constitution because Defendants:

  (1) engaged in substantial and not isolated activity within and directed at the state of

  Florida; (2) conducted business through employees, agents, co-conspirators, and/or

                                             4
Case 3:23-cv-00811-MMH-LLL       Document 49      Filed 03/29/24      Page 5 of 57 PageID 598




  authorized representatives located in the state of Florida; and/or (3) committed and

  conspired to commit intentional torts expressly aimed at Florida, the effects and harms

  of which were calculated to and did cause injury within the state of Florida.

  Accordingly, each of the Defendants could and should have reasonably anticipated

  being sued for the claims alleged herein in the state of Florida.

         19.   At all times material to this action, Defendants were the agents, licensees,

  employees, partners, joint-venturers, co-conspirators, masters, and/or employers of

  one another, and each of them acted within the course and scope of an agency, license,

  partnership, employment, conspiracy, ownership, joint venture, or contractual

  relationship with one another. At all times material to this action, each Defendant’s

  acts, omissions, and misconduct alleged herein were known to, authorized, approved,

  and/or ratified by the other Defendants; and/or Defendants engaged in such acts,

  omissions, and misconduct in concert or active participation with one another or to

  aid or abet one another.

         20.   Defendants conspired and agreed with each other and others to engage

  in unlawful and tortious conduct intended to harm and injure Plaintiffs, in furtherance

  of which Defendants and their agents and co-conspirators engaged in overt acts within

  and directed at the state of Florida and could and should have reasonably anticipated

  that the acts and omissions alleged herein connected them to Florida in a meaningful

  way.

         21.   Defendants’ actions and misconduct alleged herein produced and/or

  substantially contributed to producing the damages, injuries, and harms Plaintiffs


                                              5
Case 3:23-cv-00811-MMH-LLL       Document 49       Filed 03/29/24   Page 6 of 57 PageID 599




  suffered, and for which they seek recovery and redress through this action; which

  injuries and harms occurred in the state of Florida and the greatest effects of which

  were suffered within the state of Florida.

       22.      All conditions precedent to the filing and maintenance of this action

  have occurred, have been performed, and/or have been waived.

              COMMON FACTUAL ALLEGATIONS TO ALL COUNTS

                                Overview of the Plaintiffs

        23.    S. Weems and K. Weems are husband and wife.                They founded

  Celebration Church in 1998 and devoted over 23 years of their lives to their church,

  its congregation, and its missions.

        24.    Initially, Celebration Church was comprised of a single site in

  Jacksonville, Florida, but through years of dedication and sacrifice S. Weems and

  K. Weems grew that single site into a global, multi-site, non-denominational church

  with nearly 20,000 members.

        25.    In 2018, S. Weems came to the realization that Celebration Church had

  become too “corporate” and focused on generating attendance and revenue and

  needed to concentrate on helping the poor, missionary work, equality, and simplifying

  the church by creating alternative revenue streams that would make the church less

  donation dependent.

        26.    S. Weems also came to recognize that the modern church growth system

  and its constant pressure to grow attendance and generate more and more revenue to

  keep the corporate “machine” running was having significant negative psychological

                                               6
Case 3:23-cv-00811-MMH-LLL       Document 49     Filed 03/29/24   Page 7 of 57 PageID 600




  and health impacts on pastors, who needed counseling, guidance, and treatment to

  recover from the adverse effects of the growth model that Defendants are at the

  forefront of promoting.

        27.    Thus, S. Weems and K. Weems developed a missionary-focused plan

  that included establishing several corporate entities that collectively would house and

  fund Celebration Church’s significant administrative and personnel operations,

  quickly reduce expenses and Celebration Church’s debt, and operate and fund the

  missionary work on which Pastor Weems wanted to focus, including the development

  of Restorative Community Developments (RCD’s1) (the “Missions Plan”).

        28.    Pursuant to the Missions Plan, S. Weems and K. Weems formed several

  corporations that would perform different functions while operating cohesively to

  provide management services for Celebration Church and other entities, operate and

  fund missionary work, and operate, fund, and develop            RCD’s, including the

  following:

               A.     Honey Lake Farms: Plaintiff, Honey Lake Farms, was
                      formed and funded to create, develop, and operate a retreat
                      and outpatient facility for pastoral care which would be
                      supported by an adjoining medical clinic (Honey Lake
                      Clinic, Inc.) that would provide Christian mental health
                      treatment services, the revenue from which would be used
                      to build out and support Honey Lake Farms’ mission;

               B.     NorthStream: Plaintiff, NorthStream, was formed and
                      funded to (1) provide centralized and shared management

  1
   Restorative Community Developments are self-contained investment portfolios ideal
  for venture philanthropists and impact investors, combining profitability with socially
  and environmentally conscious that directly impact human flourishing in both rural
  and urban areas. See Exhibit A.

                                            7
Case 3:23-cv-00811-MMH-LLL       Document 49     Filed 03/29/24    Page 8 of 57 PageID 601




                      services to Celebration Church and numerous other
                      churches and related entities, enabling church leadership to
                      focus their attention on ministry and missions rather than
                      operational aspects of their churches; and (2) help initially
                      operate and develop RCD’s, the first of which was Honey
                      Lake Farms;

               C.     AWKNG: A separate entity (AWKNG, Inc.) served as the
                      hub for the restorative/ministry programing used at Honey
                      Lake Farms, a theology school, missionary partnerships,
                      media operations, and other similar endeavors; and

               D.     Celebration Global: Plaintiff, Celebration Global, was
                      formed and funded to operate as the umbrella organization
                      under which S. Weems and K. Weems missionary work
                      would be housed.

        29.    S. Weems and K. Weems also formed Weems Group as a vehicle for

  themselves and family members to invest in the Missions Plan. Weems Group

  invested approximately $450,000 in NorthStream, which was used to help fund and

  start the operations of Honey Lake Farms and AWKNG, and S. Weems and

  K. Weems also invested $350,000 of their own money in Honey Lake Farms—all as

  part of and in furtherance of the Missions Plan.

        30.    Celebration Church’s Board of Trustees and Overseers (including Rizzo

  and Siebeling) were fully aware of and approved the Missions Plan and the formation

  of the companies and investments made by Plaintiffs to implement the Missions Plan.

                                Overview of Defendants

        31.    ARC is a cooperative of independent churches from different

  denominations, networks, and backgrounds, including churches “planted” or

  launched through ARC and churches that invest in the mission of ARC financially.



                                             8
Case 3:23-cv-00811-MMH-LLL       Document 49     Filed 03/29/24   Page 9 of 57 PageID 602




        32.     Although ARC started as a loosely connected group of people who

  wanted to help smaller churches, it eventually (under the leadership of Hodges) shifted

  its focus to generating large attendance growth and church “planting,” which vastly

  expanded Hodges’ power and influence and his revenue streams through ARC-

  promoted businesses and entities.

        33.     ARC is one of the largest church planting organizations in North

  America and has planted more than a thousand churches since 2000.

        34.     ARC-planted churches enter into contractual agreements with ARC that,

  among other things, provide for initial loans to launch the church and require the

  church to pay 10% of tithes and offerings to ARC until this loan is repaid; following

  which the church is required to send ARC an ongoing amount of 2% of its monthly

  tithes/offerings.

        35.     Celebration Church is not an ARC-planted church and, at all times

  material to this action, had no legal, contractual, or financial obligations to ARC or

  any of the other Defendants.

        36.     Historically, Celebration Church gratuitously donated approximately

  $150,000 to $200,000 per year to or for the benefit of ARC’s church planting

  operations.

        37.     ARC is not a denomination and does not issue directives on what its

  member churches should promote or how they should operate doctrinally,

  philosophically, ministerially, or politically—such that ARC’s relationship with




                                            9
Case 3:23-cv-00811-MMH-LLL      Document 49      Filed 03/29/24   Page 10 of 57 PageID 603




  churches is non-ecclesiastical. ARC member churches are completely and totally

  autonomous—operationally, financially, and governmentally. 2

          38.   ARC has attained a significant amount of power and influence through

  its church growth model and church-planting operations and is able to maintain and

  expand such power and influence through affiliated entities and “partners” that it

  heavily encourages its members to use.

          39.   Hodges is one of the co-founders of ARC and Founder and Senior Pastor

  of Church of the Highlands (“Highlands”), one of the largest churches in the United

  States, and fully embraces the modern church growth model and has vocally expressed

  his goal to help 1,000 churches break the 1,000-attendance barrier.

          40.   Hodges also founded, controls, and benefits financially from several

  entities closely affiliated with ARC and Highlands that are heavily promoted as ARC

  “partners,” including GrowLeader, LLC (“GrowLeader”) and Highlands College.

          41.   GrowLeader is a for-profit company that generates significant revenue

  and resulting financial benefits to Hodges by providing fee-based mentoring, coaching,

  training, and consulting services and related resources focused on promoting and

  advancing the modern church growth system to churches and their leadership.

          42.   Hodges and ARC furtively maintain non-ecclesiastical control and

  oversight over churches throughout the country through ARC’s power and influence

  and through ARC “partners” and agents that, upon information and belief, Hodges



  2
      https://www.arcchurches.com/about/our-structure/

                                            10
Case 3:23-cv-00811-MMH-LLL       Document 49     Filed 03/29/24   Page 11 of 57 PageID 604




  ultimately directs and controls, such as “trustees” installed on church governing

  boards and church attorneys controlled by and loyal to Hodges and ARC.

          43.    Attorneys David Middlebrook and Steven Goodspeed (“Middlebrook

  Goodspeed”) specialize in the areas of church formation, governance, operations, and

  taxes, and were at all times material to this action promoted as an ARC “partner.”

  Middlebrook Goodspeed represented Celebration Church during the events described

  below, but also, upon information and belief, acted at the direction and/or under the

  control of Hodges and in the interests of ARC.

          44.    Attorneys Lee Wedekind (“Wedekind”) and Kristin Ahr (“Ahr”) work

  for the Nelson Mullins Riley & Scarborough LLP law firm (“Nelson Mullins”) and

  were at all times material to the events described below, upon information and belief,

  acting at the direction and/or under control of Hodges and in the interests of ARC.

          45.    Rizzo is the Executive Director of ARC and an Associate Pastor at

  Church of the Highlands.3 In these capacities, Rizzo carries out Hodges’ directives.

  Rizzo’s position within ARC provides inroads and influence into every ARC church

  and the ability to, among other things, direct or restrict ARC resources to churches

  and their programs and missions.

          46.    Rizzo served as an Overseer at Celebration Church until September 2021,

  and in that capacity had access to information and documentation concerning the

  Missions Plan, which he provided to Hodges.



  3
      https://jamesriver.church/author/drizzo

                                            11
Case 3:23-cv-00811-MMH-LLL       Document 49       Filed 03/29/24   Page 12 of 57 PageID 605




         47.    At all times material to the events described below, Rizzo acted pursuant

  to an explicit or tacit agreement with Hodges and Siebeling to engage in a continuing

  course of conduct intended to interfere with the Missions Plan.

         48.    Siebeling is a Founder and Senior Pastor of The Life Church and

  founding board member of ARC—a position which enables him to use ARC and its

  extensive network and power to benefit himself and his church financially.

         49.    Siebeling served as an Overseer at Celebration Church until September

  2021, and in that capacity had access to information and documentation concerning

  the Missions Plan, which he provided to Hodges.

         50.    At all times material to the events described below, Siebeling acted

  pursuant to an explicit or tacit agreement with Hodges and Rizzo to engage in a

  continuing course of conduct intended to interfere with the Missions Plan.

                        The Implementation of the Missions Plan

        51.     In 2019, Pastor Weems and K. Weems began implementing the Missions

  Plan, which is antithetical to ARC’s business model and Hodges’, Rizzo’s, and

  Siebeling’s business and financial interests, including their interests in and the benefits

  they and their churches derive from ARC and affiliated organizations such as

  GrowLeader and Highlands College.

         52.    Once S. Weems and K. Weems began implementing the Missions Plan,

  S. Weems informed Rizzo that Celebration Church would only be willing to donate

  funds to ARC if they were earmarked for missionary work and helping pastors get the

  counseling, guidance, and treatment they needed to shift their focus to ministry and

                                              12
Case 3:23-cv-00811-MMH-LLL      Document 49     Filed 03/29/24   Page 13 of 57 PageID 606




  missions, rather than church growth; while also expressing his concerns over the ARC

  system and its focus on planting churches to help expand ARC and GrowLeader and

  Hodges’, Rizzo’s, and Siebeling’s own personal interests, which was causing stress and

  psychological harm for pastors.

        53.    Middlebrook Goodspeed represented Celebration Church at the time and

  began consulting with S. Weems and Celebration Church on the Missions Plan, as

  part of which Celebration Church agreed to a financial package for the benefit of

  S. Weems and K. Weems and the Missions Plan that involved a Founding Pastor

  agreement, retirement package for S. Weems and K. Weems, a parsonage, and

  continued and ongoing financial support for their missions through funding

  Celebration Global, which would in turn help fund the operations of Honey Lake

  Farm, NorthStream, and AWKNG (the “Founding Pastor Agreements”).

        54.    Celebration Church’s Board of Trustees and Overseers were fully aware

  of, approved, and agreed on behalf of Celebration Church to the Missions Plan and to

  the terms and conditions of the Founding Pastor Agreements.

        55.    In December 2019, pursuant to the Founding Pastor Agreements,

  Celebration Church’s Compensation Committee (including Siebeling and Rizzo)

  formally approved and agreed upon (among other things) Celebration Church’s

  acquisition of a parsonage for the Weemses’s and the payment of $100,000 per year to

  S. Weems until age 65; terms of which were memorialized in a Compensation Resolution

  and Parsonage Use License Agreement.




                                           13
Case 3:23-cv-00811-MMH-LLL      Document 49      Filed 03/29/24   Page 14 of 57 PageID 607




        56.    Hodges, Rizzo, and Siebeling knew that, if implemented, the Missions

  Plan posed a threat to ARC’s operational and business model and to Hodges’, Rizzo’s,

  and Siebeling’s personal financial and business interests, including those derived

  through ARC and its related entities.

        57.    Thus, Hodges, Rizzo, and Siebeling agreed to engage in a continuing

  course of conduct that was directed primarily by Hodges and implemented by Rizzo

  and Siebeling, directly and through other agents acting at their direction and under

  their control, to eliminate the threat Plaintiffs posed by using S. Weems’ transition to

  Celebration Church’s Founding Pastor to oust S. Weems from Celebration Church,

  terminate the founding Pastor Agreements, and destroy the Missions Plan.

        58.    One of the first steps in this continuing conspiracy was planting an ARC

  agent Defendants knew they could control and who would continue to advance their

  interests, Tim Timberlake (“Timberlake”), to replace S. Weems as Senior Pastor of

  Celebration Church.

        59.    Unaware of the clandestine agency relationship between Timberlake and

  ARC or that Timberlake was acting at Hodges’, Rizzo’s, and Siebeling’s direction

  and/or under their control, S. Weems moved forward with transitioning to

  Celebration Church’s Founding Pastor and guiding Timberlake to be his replacement.

        60.    By December of 2020, Honey Lake Farms had opened and started

  offering retreats and its outpatient facility for pastoral care (known as the “Lodge”),

  and Honey Lake Clinic began generating revenue providing Christian mental health

  treatment services.


                                            14
Case 3:23-cv-00811-MMH-LLL      Document 49      Filed 03/29/24   Page 15 of 57 PageID 608




        61.    Meanwhile, S. Weems and K. Weems continued working tirelessly to

  bring stability, structure, consistency, and clarity to Celebration Church’s staff,

  congregation, and organization, greatly improving the church’s financial position, and

  they believed everything was moving forward as planned with the Missions Plan and

  the Founding Pastor Agreements.

        62.    In May of 2021, S. Weems and K. Weems and Celebration Church

  agreed on the property that would be the Weemses’s’ permanent parsonage and it was

  sold to the Church for that purpose—following which Celebration Church agreed to

  and did treat that property as the parsonage under the Parsonage Use License Agreement.

        63.    However, unbeknownst to S. Weems and K. Weems, Hodges, Rizzo,

  and Siebeling were still working behind the scenes to oust Pastor Weems from his

  leadership position and cause Celebration Church to repudiate the Missons Plan and

  Founding Pastor Agreements.

        64.    Upon information and belief, Hodges directed and Rizzo and Siebeling

  carried out, directly or indirectly through Timberlake, the enlistment of a new

  Celebration Church Trustee (Kevin Cormier) and financial officer (Lisa Stewart) they

  knew were involved in financial frauds against Celebration Church to help oust Pastor

  Weems, including to manufacture evidence of supposed financial crimes and

  mismanagement that could be used to frame S. Weems and justify his removal from

  Celebration Church.

        65.    Upon information and belief, Hodges also directed and Rizzo and

  Siebeling carried out, directly or indirectly through Timberlake, the enlistment

                                            15
Case 3:23-cv-00811-MMH-LLL        Document 49      Filed 03/29/24   Page 16 of 57 PageID 609




  K. Weems’s assistant and NorthStream employee, Gaby Sullivan, to illegally access

  and download K. Weemses’s private data, emails, medical information, and therapy

  sessions so they could also be used against the Weemses’s and to oust them from

  Celebration Church.

           66.    In September 2021, Hodge’s Highlands church announced that it was

  spending $4.5 million to build its own “Lodge Retreat Center”—a center for pastoral

  counseling reported as being “the vision of” Hodges and Rizzo4 that was virtually

  identical to the Honey Lake Farms’ Lodge (which had been up and running since

  December 2020). Around the same time, Rizzo and Siebeling stepped down as

  Celebration Church Overseers.

          67.     Honey Lake Farms’ Lodge and The Lodge Retreat Center (once

      completed) would have been competitors. However, Hodges and Rizzo knew Honey

      Lake Farms’ Lodge had a significant advantage because it was already operational

      and had numerous retreats, counseling and restorative programs led by professional

      therapists and able to provide outpatient clinical care through its association with

      Honey Lake Clinic, which Highland’s “Lodge Retreat Center” was unable to provide.

          68.     Hodges and Rizzo also perceived Honey Lake Farms as a threat to ARC

      and their own personal, financial, and business interests because it was providing

      counseling services that included programs designed to improve pastoral mental

      health by moving away from the church growth model.


  4
                 https://ministrywatch.com/church-of-the-highlands-quietly-advances-
  controversial-pastoral-retreat-center/

                                              16
Case 3:23-cv-00811-MMH-LLL       Document 49      Filed 03/29/24   Page 17 of 57 PageID 610




        69.    In October of 2021, still unaware of the clandestine plot against them,

   S. Weems and K. Weems continued to move forward with the Missions Plan and

   NorthStream agreed to pay Historical Concepts, a highly respected architecture and

   development firm in Atlanta, over $14,000 for a rendering of a master site plan for

   Honey Lake Farms so that investors for the RCD portion of the Honey Lake Farms

   project could be recruited. Historical Concepts is well known and respected in the

   community development and architectural world and its involvement on the Honey

   Lake Farms project provided legitimacy and credibility to the project.

        70.    The Weemses’s immediately drove from their meeting with Historical

   Concepts to the 2021 ARC conference at Seacoast Church in South Carolina to

   demonstrate their goodwill toward their friends at ARC and put forth the idea of

   working together around missions, which resulted in an advantageous business

   relationship between Honey Lake Farms and Greg Surratt pursuant to which Surratt

   agreed to partner to expand the availability of pastoral health retreats by hosting them

   at Honey Lake Farms and Surratt’s lodge, which would have generated an estimated

   $1.5 million in income for Honey Lake Farms and AWKNG over the next 24 months.

        71.    Hodges, Rizzo, and Siebeling were aware of this advantageous business

   relationship between Honey Lake Farms and Surratt.

        72.    Not long thereafter, AWKNG and Honey Lake Farms held a fundraiser

   to raise money for scholarships for pastors and ministers to attend wellness retreats,

   which raised approximately $250,000 and connected Plaintiffs with Willie Robertson

   (well known for the “Duck Dynasty” reality show). Honey Lake Farms developed


                                             17
Case 3:23-cv-00811-MMH-LLL      Document 49      Filed 03/29/24   Page 18 of 57 PageID 611




   an advantageous business relationship with Willie Robertson (who even shot some

   episodes of his series “Buck Commander” at the farm), including discussions about

   Robertson purchasing a lot in the Honey Lake Farms RCD to house his personal

   ministry initiatives and hosting future filming of the “Buck Commander” series.

   Robertson’s involvement in Honey Lake Farms also had significant value and benefit

   to Honey Lake Farms and the Missions Plan as a whole because it provided credibility

   and legitimacy to the project. Hodges, Rizzo, and Siebeling were aware of this

   advantageous business relationship between Honey Lake Farms and Willie

   Robertson.

       73.      In the fall of 2021, Wildwood Ranch also verbally committed to

  S. Weems that it would make a $1 million investment in Honey Lake Farms in April

  2022 and acquire land in the project to build a ranch for troubled teens. Hodges,

  Rizzo, and Siebeling were aware of this advantageous business relationship between

  Honey Lake Farms and Wildwood Ranch.

       74.      NorthStream was also working on developing an advantageous business

  relationship with the city of Greenville, FL related to its first RCD, and was launching

  its first RCD in Africa through Project Africa in Zimbabwe.

       75.      Plaintiffs had also developed an advantageous business relationship with

  David Maura through which he initially invested $1.3 million in Honey Lake Farms

  and had expressed his willingness to invest significantly more money into the project.

  Hodges, Rizzo, and Siebeling were aware of this advantageous business relationship

  between Honey Lake Farms and Maura.

                                            18
Case 3:23-cv-00811-MMH-LLL      Document 49      Filed 03/29/24   Page 19 of 57 PageID 612




        76.    All the foregoing relationships also would have benefitted NorthStream

  through management services agreements with Honey Lake Farms, Honey Lake

  Clinic, and AWKNG, pursuant to which NorthStream would have been paid

  management fees to provide management services for the operations at Honey Lake

  Farms and management services associated with launching RCD’s. Hodges, Rizzo,

  and Siebeling were aware of the advantageous business relationships and agreements

  between NorthStream and Honey Lake Farms, Honey Lake Clinic, and AWKNG.

       77.     Based on the Celebration Church’s commitment and agreement to the

  Missions Plan and Founding Pastor Agreements, the Weemses’s also stopped drawing

  a salary from the church (in addition to their personal investments described above).

       78.     In November of 2021, Rizzo and Timberlake, who were upon

   information and belief acting at Hodges’ direction, contacted Surratt and informed

   him that Pastor Weems was about to be put “under investigation” by Celebration

   Church and told Surratt that he needed to cut all ties with S. Weems and Honey Lake

   Farms, which caused Surratt to immediately terminate his advantageous business

   relationship with Honey Lake Farms.

       79.     By December 2021, Hodges, Rizzo, and Siebeling had succeeded in using

   their power and influence and agents they controlled within Celebration Church

   (including Timberlake and Kevin Cormier), to cause Celebration Church to repudiate

   the Founding Pastor Agreements and its commitment to provide millions of dollars

   in funding to Celebration Global to carry out the Missions Plan.




                                            19
Case 3:23-cv-00811-MMH-LLL       Document 49       Filed 03/29/24   Page 20 of 57 PageID 613




        80.    Celebration Church’s repudiation of the Founding Pastor Agreements

   and millions of dollars in committed funding to Celebration Global to carry out the

   Missions Plan was soon exacerbated by a campaign initiated by Hodges, Rizzo, and

   Siebeling as part of their continuing conspiracy to target Plaintiffs’ strategic

   partnerships, pursuant to which Hodges, Rizzo, and Siebeling, directly or indirectly

   through Timberlake, set out to ruin S. Weems and K. Weems reputations, specifically

   in the ministry world, by contacting pastors, missional partners, strategic partners,

   leaders of church networks, and donors and telling them that S. Weems was about to

   be investigated for financial misconduct and would be removed as Celebration

   Church’s Senior Pastor.

        81.    Hodges, Rizzo, and Siebeling, directly or indirectly through Timberlake

  and Kevin Cormier, also engineered a sham “investigation” and suspension of S.

  Weems as Celebration Church’s Senior Pastor based on “possible improper financial

  practices and/or failure to fulfill duties and responsibilities as Senior Pastor.”

        82.    Contemporaneously therewith, Hodges ensured that he and ARC would

  maintain ultimate oversight and control over the Weemses’s ouster from Celebration

  Church by ensuring that Middlebrook Goodspeed would not do anything to help stop

  the sham investigation and would bring in ARC attorneys Wedekind and Ahr to lead

  the supposed “investigation” of S. Weems and K. Weems.

        83.    Wedekind and Ahr promptly informed S. Weems that he was banned

  from Celebration Church while he supposedly was “investigated,” barred him from




                                              20
Case 3:23-cv-00811-MMH-LLL     Document 49      Filed 03/29/24   Page 21 of 57 PageID 614




  church property under threat of criminal prosecution, and instructed him to cease all

  contact with everyone associated with Celebration Church.

        84.    Hodges, Rizzo, and Siebeling, further ensured the successful ouster of

  S. Weems by, directly or indirectly through others (including Timberlake and

  Cormier), convincing Celebration Church to use Middlebrook Goodspeed and

  Wedekind and Ahr to amend Celebration Church Bylaws to give its Trustees absolute,

  unchecked power to unlawfully oust S. Weems from the church.

        85.    Wedekind and Ahr also proceeded with conducting the sham

  “investigation” of S. Weems; during which Hodges, Rizzo, and Siebeling, directly or

  through others (including Timberlake and Cormier), worked with and directed

  Middlebrook Goodspeed and Wedekind and Ahr to ensure that the supposed

  “investigation” would end in the predetermined outcome necessary to frame and oust

  S. Weems for financial and other misconduct and force him to cede control of

  Celebration Church to ARC controlled agents, including Timberlake and Cormier.

        86.    Well-before the supposed “investigation” commenced, Rizzo and

  Siebeling had already learned and informed Hodges that Cormier and Celebration

  Church CFO, Lisa Stewart, were responsible for embezzling money from Celebration

  Church, so they all knew the “investigation” could be used to frame Pastor Weems for

  this embezzlement and justify ousting him from Celebration Church, following which

  ARC controlled leadership could be installed to ensure that the Missions Plan failed,

  simultaneously destroying Celebration Global, Honey Lake Farms and NorthStream

  and eliminating them as competition for Hodges other businesses.


                                           21
Case 3:23-cv-00811-MMH-LLL      Document 49        Filed 03/29/24   Page 22 of 57 PageID 615




        87.    During the sham “investigation,” the Weemses’s were essentially made

  pariahs, unable to defend themselves and isolated from the church, friends, church

  members, and professional colleagues and contacts, most of whom they were

  prohibited from contacting and had been told the Weemses’s were suspended and

  “under investigation” for unspecified reasons.

        88.    On or around January 17, 2022, Hodges also enlisted an Overseer and

  Apostolic Elder of Highlands and Hodges’ personal pastor, Larry Stockstill, to send

  an email openly challenging S. Weems’s “new direction in ministry” and laying out

  that in order to clear his name S. Weems had to cede control over Celebration Church

  and repent to ARC, Rizzo, and Siebeling, in particular:




                                           22
Case 3:23-cv-00811-MMH-LLL      Document 49        Filed 03/29/24   Page 23 of 57 PageID 616




        89.    At the same time, Middlebrook Goodspeed were also, upon information

  and belief acting at Hodges’ direction or under his control, refusing to do anything to

  assist S. Weems in preventing the coup unfolding at Celebration Church. Instead,

  Middlebrook Goodspeed, along with Rizzo and Siebeling, were pressuring S. Weems

  “not get an attorney or go to the court.”

        90.    As time dragged on with no imminent resolution of this incredibly

  damaging situation in sight, S. Weems and K. Weems decided to take action and filed

  suit on February 23, 2022 to try to obtain temporary injunctive relief to protect their

  rights and force the resolution of the sham investigation.


                                              23
Case 3:23-cv-00811-MMH-LLL      Document 49      Filed 03/29/24   Page 24 of 57 PageID 617




        91.    Wedekind and Ahr represented Celebration Church in that lawsuit and,

  on March 3, 2022, filed a Motion to Dismiss which lobbed unsubstantiated,

  unnecessary personal attacks against the Weemses’s that were completely irrelevant to

  the legal arguments it raised. This motion further explained how Celebration Church’s

  Bylaws were amended on January 13, 2022, to make its Board “the highest

  ecclesiastical authority in the church,” which demonstrated to S. Weems and

  K. Weems that Hodges, Rizzo, Siebeling, and ARC had successfully completed their

  plan to take over control of Celebration Church.

        92.    Upon reading this, S. Weems came to the difficult realization that he

  could no longer be a part of Celebration Church and needed to try to protect his family

  from any further attacks by resigning and completely separating from Celebration

  Church.

        93.    Thus, on April 15, 2022, S. Weems tendered his resignation as Senior

  Pastor, President, Chief Executive Officer, Chairman and member of the Board of

  Trustees, and registered agent.

        94.    However, Defendants were upset over the lawsuit and the publicity it

  drew and fearful that members of Celebration Church’s congregation would follow

  S. Weems once he began ministering elsewhere and working with other churches, so

  they continued working through Timberlake with Wedekind and Ahr to create and

  publicly disseminate a false and defamatory narrative and statements about S. Weems

  and K. Weems, along with private and confidential information about K. Weems they




                                            24
Case 3:23-cv-00811-MMH-LLL      Document 49      Filed 03/29/24     Page 25 of 57 PageID 618




  had unlawfully gathered, to try to destroy their reputations, humiliate them, and

  prevent Plaintiffs from continuing their ministry and missions.

       95.     This culminated in an April 24, 2022, “Report of Investigation to

  Celebration Church of Jacksonville, Inc.” [Doc 1-1], which was leaked to the press

  and published on Celebration Church’s website so that it would be publicly available

  immediately before ARC’s Conference in South Carolina on April 25-27, 2022—at

  which Hodges was planning to discuss the progress of the Highlands Lodge and plans

  for GrowLeader.

       96.     The ultimate purpose of the public dissemination of the Report was to

  frame S. Weems and K. Weems for embezzling the money Defendants’ knew Cormier

  and Stewart had taken and covered up, thereby legitimizing the takeover of

  Celebration Church, ensuring the failure of the Missions Plan, and simultaneously

  publicly destroying S. Weems and K. Weems so that they no longer posed any threat

  to Hodge’s, Rizzo’s, Siebeling’s, and ARC’s personal, business, and financial interests.

       97.     Defendants’ knew the Report could be used to sway the opinions of

  Celebration Church’s members, the public, and people and businesses affiliated with

  Plaintiffs to convince them that S. Weems and K. Weems were criminals and prevent

  people and companies from doing business with entities with which they are affiliated,

  including Honey Lake Farms, NorthStream, and Celebration Global.

       98.     Unsurprisingly, shortly after the Report was publicly released, the

  advantageous business relationships between Honey Lake Farms and Willie

  Robertson, Wildwood Ranch, and David Maura ended.


                                            25
Case 3:23-cv-00811-MMH-LLL     Document 49      Filed 03/29/24   Page 26 of 57 PageID 619




       99.     Soon after the Report was publicly released, on April 27, 2022,

  Wedekind, who was upon information and belief acting at the direction of Timberlake

  or Cormier while under the control of Hodges or Rizzo, prepared and transmitted a

  letter via email to TurnCoin, Ltd.’s chief legal officer, Arno Visser, (the “TurnCoin

  Letter”), which falsely asserted that S. Weems “embezzled and fraudulently

  transferred [Celebration Church] funds that were used to purchase TurnCoin” and

  engaged in “money laundering…in violation of 18 U.S.C. §§ 1956(a) and 1957”:




                                           26
Case 3:23-cv-00811-MMH-LLL          Document 49   Filed 03/29/24   Page 27 of 57 PageID 620




        100.     The TurnCoin Letter specifically directed TurnCoin to view the Report

  to read about “Weemses’s illegal activities” and included a hyperlink to the Report for

  that purpose, and used the Report and false criminal accusations about S. Weems to

  try to convince TurnCoin to freeze the Weemses’s investments and investments of

  Honey Lake Farms in hopes of further financially crippling Plaintiffs.

        101.     By engaging in the above-described conduct, Defendants explicitly or

  tacitly agreed to participate in a common scheme and unlawful ongoing conspiracy,

  in furtherance of which they committed overt acts or instructed others under their

  control to commit overt acts, which caused significant harm and damages to Plaintiffs

  as a result.

                                      COUNT I
                              (TORTIOUS INTERFERENCE
                                   Weems vs. ARC)

        102.     S. Weems and K. Weems re-allege and incorporate Paragraphs 1 through

  101, as if fully stated herein.

         103. As more specifically alleged in paragraphs 27-30, 53-55, and 62, above,

  S. Weems and K. Weems had advantageous contractual and business relationships

  with Celebration Church, of which ARC was aware.

         104. As alleged in paragraphs 31-50, 56-68, and 78-100, ARC, through its

  agents, Hodges, Rizzo, and Siebeling, and others acting at their direction or under

  their control, intentionally and unjustifiably interfered with S. Weems and K. Weems

  advantageous contractual and business relationships with Celebration Church, as a




                                             27
Case 3:23-cv-00811-MMH-LLL     Document 49      Filed 03/29/24   Page 28 of 57 PageID 621




  direct and proximate result of which, S. Weems and K. Weems suffered substantial

  economic damages in amounts to be proven at trial.

        105. Further, as a direct, proximate, and reasonably foreseeable result of

  ARC’s tortious interference with the Mission Plan and S. Weems’ and K. Weems’

  advantageous contractual and business relationships with Celebration Church, ARC

  caused the Missions Plan to fail and caused S. Weems and K. Weems to lose their

  personal investment alleged in paragraph 29, above.

        106. ARC’s actions alleged herein were unjustified, unlawful and committed

  maliciously and deliberately with an intent to injure S. Weems and K. Weems and

  cause them substantial harm; committed with actual knowledge of the wrongfulness

  of the conduct and the high probability that injury and damage would result, and

  despite that knowledge, ARC intentionally pursued such course of conduct, resulting

  in injury and damages to K. Weems and S. Weems; and/or were committed in

  conscious disregard of S. Weems’s and K. Weems’s rights.

        WHEREFORE, Plaintiffs, Charles S. Weems, IV, and Kerri Weems, demand

  judgment against Defendant, Association of Related Churches, Inc., awarding:

        a.    Compensatory damages in appropriate amounts to be established
              at trial;

        b.    Punitive damages in appropriate amounts to be established at trial;

        c.    Costs associated with this action; and

        d.    Such other and further relief as the Court deems just and
              appropriate to protect Plaintiffs’ rights and interests.




                                           28
Case 3:23-cv-00811-MMH-LLL          Document 49    Filed 03/29/24   Page 29 of 57 PageID 622




                                     COUNT II
                              (TORTIOUS INTERFERENCE
                                  Weems vs. Hodges)

         107. S. Weems and K. Weems re-allege and incorporate Paragraphs 1 through

  101, as if fully stated herein.

         108. As more specifically alleged in paragraphs 27-30, 53-55, and 62, above,

  S. Weems and K. Weems had advantageous contractual and business relationships

  with Celebration Church, of which Hodges was aware.

         109. As alleged in paragraphs 31-50, 56-68, and 78-100, Hodges, directly and

  through others acting at his direction and under his control, including Rizzo, Siebeling,

  Timberlake, Cormier, Sullivan, Middlebrook Goodspeed, and/or Wedekind and Ahr,

  intentionally and unjustifiably interfered with S. Weems and K. Weems advantageous

  contractual and business relationships with Celebration Church, as a direct and

  proximate result of which, S. Weems and K. Weems suffered substantial economic

  damages in amounts to be proven at trial.

         110. Further, as a direct, proximate, and reasonably foreseeable result of

  Hodge’s tortious interference with the Mission Plan and S. Weems’ and K. Weems’

  advantageous contractual and business relationships with Celebration Church,

  Hodges caused the Missions Plan to fail and caused S. Weems and K. Weems to lose

  their personal investment alleged in paragraph 29, above.

         111. Hodges’ actions alleged herein were unjustified, unlawful and committed

  maliciously and deliberately with an intent to injure S. Weems and K. Weems and

  cause them substantial harm; committed with actual knowledge of the wrongfulness

                                              29
Case 3:23-cv-00811-MMH-LLL          Document 49   Filed 03/29/24   Page 30 of 57 PageID 623




  of the conduct and the high probability that injury and damage would result, and

  despite that knowledge, Hodges intentionally pursued such course of conduct,

  resulting in injury and damages to K. Weems and S. Weems; and/or were committed

  in conscious disregard of S. Weems’s and K. Weems’s rights.

         WHEREFORE, Plaintiffs, Charles S. Weems, IV, and Kerri Weems, demand

  judgment against Defendant, Chris Hodges, awarding:

         a.     Compensatory damages in appropriate amounts to be established
                at trial;

         b.     Punitive damages in appropriate amounts to be established at trial;

         c.     Costs associated with this action; and

         d.     Such other and further relief as the Court deems just and
                appropriate to protect Plaintiffs’ rights and interests.

                                     COUNT III
                              (TORTIOUS INTERFERENCE
                                   Weems vs. Rizzo)

         112. S. Weems and K. Weems re-allege and incorporate Paragraphs 1 through

  101, as if fully stated herein.

         113. As more specifically alleged in paragraphs 27-30, 53-55, and 62, above,

  S. Weems and K. Weems had advantageous contractual and business relationships

  with Celebration Church, of which Rizzo was aware.

         114. As alleged in paragraphs 31-50, 56-68, and 78-100, Rizzo, directly and

  through others acting at his direction and under his control, including Timberlake,

  Cormier, Sullivan,      Middlebrook Goodspeed, and/or Wedekind and Ahr,

  intentionally and unjustifiably interfered with S. Weems and K. Weems advantageous

                                             30
Case 3:23-cv-00811-MMH-LLL      Document 49        Filed 03/29/24   Page 31 of 57 PageID 624




  contractual and business relationships with Celebration Church, as a direct and

  proximate result of which, S. Weems and K. Weems suffered substantial economic

  damages in amounts to be proven at trial.

        115. Further, as a direct, proximate, and reasonably foreseeable result of

  Rizzo’s tortious interference with the Mission Plan and S. Weems’ and K. Weems’

  advantageous contractual and business relationships with Celebration Church, Rizzo

  caused the Missions Plan to fail and caused S. Weems and K. Weems to lose their

  personal investment alleged in paragraph 29, above.

        116. Rizzo’s actions alleged herein were unjustified, unlawful and committed

  maliciously and deliberately with an intent to injure S. Weems and K. Weems and

  cause them substantial harm; committed with actual knowledge of the wrongfulness

  of the conduct and the high probability that injury and damage would result, and

  despite that knowledge, Rizzo intentionally pursued such course of conduct, resulting

  in injury and damages to K. Weems and S. Weems; and/or were committed in

  conscious disregard of S. Weems’s and K. Weems’s rights.

        WHEREFORE, Plaintiffs, Charles S. Weems, IV, and Kerri Weems, demand

  judgment against Defendant, Dino Rizzo, awarding:

        a.     Compensatory damages in appropriate amounts to be established
               at trial;

        b.     Punitive damages in appropriate amounts to be established at trial;

        c.     Costs associated with this action; and

        d.     Such other and further relief as the Court deems just and
               appropriate to protect Plaintiffs’ rights and interests.


                                              31
Case 3:23-cv-00811-MMH-LLL        Document 49    Filed 03/29/24   Page 32 of 57 PageID 625




                                         COUNT IV
                               (TORTIOUS INTERFERENCE
                                 Celebration Global vs. ARC)

         117. Celebration Global re-alleges and incorporate Paragraphs 1 through 101,

  as if fully stated herein.

         118. As more specifically alleged in paragraphs 27-28, 30, and 53-55, above,

  Celebration Global had an advantageous contractual and business relationship with

  Celebration Church, of which ARC was aware.

         119. As alleged in paragraphs 31-50, 56-68, and 78-100, ARC, through its

  agents, Hodges, Rizzo, and Siebeling, and others acting at their direction and under

  their control, intentionally and unjustifiably interfered with Celebration Global ’s

  advantageous contractual and business relationships with Celebration Church, as a

  direct and proximate result of which, Celebration Global suffered substantial

  economic damages in amounts to be proven at trial.

         120. ARC’s actions alleged herein were unjustified, unlawful and committed

  maliciously and deliberately with an intent to injure Celebration Global and cause

  them substantial harm; committed with actual knowledge of the wrongfulness of the

  conduct and the high probability that injury and damage would result, and despite that

  knowledge, ARC intentionally pursued such course of conduct, resulting in injury and

  damages to Celebration Global; and/or were committed in conscious disregard of

  Celebration Global ‘s rights.

         WHEREFORE, Plaintiff, Celebration Global, demands judgment against

  Defendant, Association of Related Churches, Inc., awarding:

                                            32
Case 3:23-cv-00811-MMH-LLL        Document 49     Filed 03/29/24   Page 33 of 57 PageID 626




         a.     Compensatory damages in appropriate amounts to be established
                at trial;

         b.     Punitive damages in appropriate amounts to be established at trial;

         c.     Costs associated with this action; and

         d.     Such other and further relief as the Court deems just and
                appropriate to protect Plaintiffs’ rights and interests.

                                          COUNT V
                               (TORTIOUS INTERFERENCE
                                Celebration Global vs. Hodges)

         121.   Celebration Global re-alleges and incorporate Paragraphs 1 through 101,

  as if fully stated herein.

         122.   As more specifically alleged in paragraphs 27-28, 30, and 53-55, above,

  Celebration Global had an advantageous contractual and business relationship with

  Celebration Church, of which Hodges was aware.

         123.   As alleged in paragraphs 31-50, 56-68, and 78-100, Hodges, directly and

  through others acting at his direction and under his control, including Rizzo, Siebeling,

  Timberlake, Cormier, Sullivan, Middlebrook Goodspeed, and/or Wedekind and Ahr,

  intentionally and unjustifiably interfered with Celebration Global ‘s advantageous

  contractual and business relationships with Celebration Church, as a direct and

  proximate result of which, Celebration Global suffered substantial economic damages

  in amounts to be proven at trial.

         124.   Hodges’ actions alleged herein were unjustified, unlawful and committed

  maliciously and deliberately with an intent to injure Celebration Global and cause it

  substantial harm; committed with actual knowledge of the wrongfulness of the

                                             33
Case 3:23-cv-00811-MMH-LLL        Document 49     Filed 03/29/24   Page 34 of 57 PageID 627




  conduct and the high probability that injury and damage would result, and despite that

  knowledge, Hodges intentionally pursued such course of conduct, resulting in injury

  and damages to Celebration Global; and/or were committed in conscious disregard of

  Celebration Global ‘s rights.

         WHEREFORE, Plaintiff, Celebration Global, demand judgment against

  Defendant, Chris Hodges, awarding:

         a.     Compensatory damages in appropriate amounts to be established
                at trial;

         b.     Punitive damages in appropriate amounts to be established at trial;

         c.     Costs associated with this action; and

         d.     Such other and further relief as the Court deems just and
                appropriate to protect Plaintiffs’ rights and interests.

                                         COUNT VI
                               (TORTIOUS INTERFERENCE
                                Celebration Global vs. Rizzo)

         125.   Celebration Global re-alleges and incorporate Paragraphs 1 through 101,

  as if fully stated herein.

         126.   As more specifically alleged in paragraphs 27-28, 30, and 53-55, above,

  Celebration Global had advantageous contractual and business relationships with

  Celebration Church, of which Rizzo was aware.

         127.   As alleged in paragraphs 31-50, 56-68, and 78-100, Rizzo, directly and

  through others acting at his direction and under his control, including Timberlake,

  Cormier, Sullivan,       Middlebrook Goodspeed, and/or Wedekind and Ahr,

  intentionally and unjustifiably interfered with Celebration Global advantageous

                                             34
Case 3:23-cv-00811-MMH-LLL        Document 49     Filed 03/29/24   Page 35 of 57 PageID 628




  contractual and business relationships with Celebration Church, as a direct and

  proximate result of which, Celebration Global suffered substantial economic damages

  in amounts to be proven at trial.

         128.   Rizzo’s actions alleged herein were unjustified, unlawful and committed

  maliciously and deliberately with an intent to injure Celebration Global and cause it

  substantial harm; committed with actual knowledge of the wrongfulness of the

  conduct and the high probability that injury and damage would result, and despite that

  knowledge, Rizzo intentionally pursued such course of conduct, resulting in injury

  and damages to Celebration Global; and/or were committed in conscious disregard of

  Celebration Global ‘s rights.

         WHEREFORE, Plaintiff, Celebration Global, demands judgment against

  Defendant, Dino Rizzo, awarding:

         a.     Compensatory damages in appropriate amounts to be established
                at trial;

         b.     Punitive damages in appropriate amounts to be established at trial;

         c.     Costs associated with this action; and

         d.     Such other and further relief as the Court deems just and
                appropriate to protect Plaintiffs’ rights and interests.

                                        COUNT VII
                               (TORTIOUS INTERFERENCE
                                 Honey Lake Farms vs. ARC)

         129.   Honey Lake Farms re-alleges and incorporate Paragraphs 1 through 101,

  as if fully stated herein.




                                             35
Case 3:23-cv-00811-MMH-LLL      Document 49     Filed 03/29/24   Page 36 of 57 PageID 629




         130.   As more specifically alleged in paragraphs 27-28, 30, and 53-55, above,

  Honey Lake Farms had an advantageous contractual and business relationship with

  Celebration Church, of which ARC was aware.

         131.   As more specifically alleged in paragraphs 69-75, above, Honey Lake

  Farms had advantageous contractual and business relationships with Surratt,

  Robertson, Wildwood ranch, and Maura, of which ARC was aware

         132.   As alleged in paragraphs 31-50, 56-68, and 78-100, ARC, through its

  agents, Hodges, Rizzo, and Siebeling, and others acing at their direction and under

  their control, intentionally and unjustifiably interfered with Honey Lake Farms’s

  advantageous contractual and business relationships with Celebration Church and

  Surratt, Robertson, Wildwood Ranch, and Maura, as a direct and proximate result of

  which, Honey Lake Farms suffered substantial economic damages in amounts to be

  proven at trial.

         133.   ARC’s actions alleged herein were unjustified, unlawful and committed

  maliciously and deliberately with an intent to injure Honey Lake Farms and cause

  them substantial harm; committed with actual knowledge of the wrongfulness of the

  conduct and the high probability that injury and damage would result, and despite that

  knowledge, ARC intentionally pursued such course of conduct, resulting in injury and

  damages to Honey Lake Farms; and/or were committed in conscious disregard of

  Honey Lake Farms’s rights.

         WHEREFORE, Plaintiff, Honey Lake Farms, demands judgment against

  Defendant, Association of Related Churches, Inc., awarding:


                                           36
Case 3:23-cv-00811-MMH-LLL        Document 49     Filed 03/29/24   Page 37 of 57 PageID 630




         a.     Compensatory damages in appropriate amounts to be established
                at trial;

         b.     Punitive damages in appropriate amounts to be established at trial;

         c.     Costs associated with this action; and

         d.     Such other and further relief as the Court deems just and
                appropriate to protect Plaintiffs’ rights and interests.

                                       COUNT VIII
                               (TORTIOUS INTERFERENCE
                                Honey Lake Farms vs. Hodges)

         134.   Honey Lake Farms re-alleges and incorporate Paragraphs 1 through 101,

  as if fully stated herein.

         135.   As more specifically alleged in paragraphs 27-28, 30, and 53-55, above,

  Honey Lake Farms had an advantageous contractual and business relationship with

  Celebration Church, of which Hodges was aware.

         136.   As more specifically alleged in paragraphs 69-75, above, Honey Lake

  Farms had advantageous contractual and business relationships with Surratt,

  Robertson, Wildwood Ranch, and Maura, of which Hodges was aware

         137.   As alleged in paragraphs 31-50, 56-68, and 78-99, Hodges, directly and

  through others acting at his direction and under his control, including Rizzo, Siebeling,

  Timberlake, Cormier, Sullivan, Middlebrook Goodspeed, and/or Wedekind and Ahr,

  intentionally and unjustifiably interfered with Honey Lake Farms’s advantageous

  contractual and business relationships with Celebration Church and Surratt,

  Robertson, Wildwood Ranch, and Maura, as a direct and proximate result of which,




                                             37
Case 3:23-cv-00811-MMH-LLL        Document 49      Filed 03/29/24   Page 38 of 57 PageID 631




  Honey Lake Farms suffered substantial economic damages in amounts to be proven

  at trial.

          138.   Hodges’ actions alleged herein were unjustified, unlawful and committed

  maliciously and deliberately with an intent to injure Honey Lake Farms and cause it

  substantial harm; committed with actual knowledge of the wrongfulness of the

  conduct and the high probability that injury and damage would result, and despite that

  knowledge, Hodges intentionally pursued such course of conduct, resulting in injury

  and damages to Honey Lake Farms; and/or were committed in conscious disregard

  of Honey Lake Farms’s rights.

          WHEREFORE, Plaintiff, Honey Lake Farms, demand judgment against

  Defendant, Chris Hodges, awarding:

          a.     Compensatory damages in appropriate amounts to be established
                 at trial;

          b.     Punitive damages in appropriate amounts to be established at trial;

          c.     Costs associated with this action; and

          d.     Such other and further relief as the Court deems just and
                 appropriate to protect Plaintiffs’ rights and interests.

                                       COUNT IX
                               (TORTIOUS INTERFERENCE
                                Honey Lake Farms vs. Rizzo)

          139.   Honey Lake Farms re-alleges and incorporate Paragraphs 1 through 101,

  as if fully stated herein.




                                              38
Case 3:23-cv-00811-MMH-LLL       Document 49     Filed 03/29/24   Page 39 of 57 PageID 632




          140.   As more specifically alleged in paragraphs 27-28, 30, and 53-55, above,

  Honey Lake Farms had advantageous contractual and business relationships with

  Celebration Church, of which Rizzo was aware.

          141.   As more specifically alleged in paragraphs 69-75, above, Honey Lake

  Farms had advantageous contractual and business relationships with Surratt,

  Robertson, Wildwood Ranch, and Maura, of which Rizzo was aware

          142.   As alleged in paragraphs 31-50, 56-68, and 78-99, Rizzo, directly and

  through others acting at his direction and under his control, including Timberlake,

  Cormier, Sullivan,      Middlebrook Goodspeed, and/or Wedekind and Ahr,

  intentionally and unjustifiably interfered with Honey Lake Farms advantageous

  contractual and business relationships with Celebration Church and Surratt,

  Robertson, Wildwood Ranch, and Maura, as a direct and proximate result of which,

  Honey Lake Farms suffered substantial economic damages in amounts to be proven

  at trial.

          143.   Rizzo’s actions alleged herein were unjustified, unlawful and committed

  maliciously and deliberately with an intent to injure Honey Lake Farms and cause it

  substantial harm; committed with actual knowledge of the wrongfulness of the

  conduct and the high probability that injury and damage would result, and despite that

  knowledge, Rizzo intentionally pursued such course of conduct, resulting in injury

  and damages to Honey Lake Farms; and/or were committed in conscious disregard

  of Honey Lake Farms’s rights.




                                            39
Case 3:23-cv-00811-MMH-LLL       Document 49      Filed 03/29/24   Page 40 of 57 PageID 633




         WHEREFORE, Plaintiff, Honey Lake Farms, demands judgment against

  Defendant, Dino Rizzo, awarding:

         a.     Compensatory damages in appropriate amounts to be established
                at trial;

         b.     Punitive damages in appropriate amounts to be established at trial;

         c.     Costs associated with this action; and

         d.     Such other and further relief as the Court deems just and
                appropriate to protect Plaintiffs’ rights and interests.

                                    COUNT X
                            (TORTIOUS INTERFERENCE
                               NorthStream vs. ARC)

         144.   NorthStream re-alleges and incorporate Paragraphs 1 through 101, as if

  fully stated herein.

         145.   As more specifically alleged in paragraphs 27-28, 30, and 53-55, above,

  NorthStream had an advantageous contractual and business relationship with

  Celebration Church, of which ARC was aware.

         146.   As more specifically alleged in paragraphs 76, above, NorthStream had

  advantageous contractual and business relationships with Honey Lake Farms, Honey

  Lake Clinic, and AWKNG, of which ARC was aware.

         147.   As alleged in paragraphs 31-50, 56-68, and 78-100, ARC, through its

  agents, Hodges, Rizzo, and Siebeling, and others acting at their direction or under

  their control, intentionally and unjustifiably interfered with NorthStream’s

  advantageous contractual and business relationships with Celebration Church and

  Honey Lake Farms, Honey Lake Clinic, and AWKNG, as a direct and proximate

                                             40
Case 3:23-cv-00811-MMH-LLL       Document 49      Filed 03/29/24   Page 41 of 57 PageID 634




  result of which, NorthStream suffered substantial economic damages in amounts to be

  proven at trial.

         148.   ARC’s actions alleged herein were unjustified, unlawful and committed

  maliciously and deliberately with an intent to injure NorthStream and cause them

  substantial harm; committed with actual knowledge of the wrongfulness of the

  conduct and the high probability that injury and damage would result, and despite that

  knowledge, ARC intentionally pursued such course of conduct, resulting in injury and

  damages to NorthStream; and/or were committed in conscious disregard of

  NorthStream’s rights.

         WHEREFORE, Plaintiff, NorthStream, demands judgment against Defendant,

  Association of Related Churches, Inc., awarding:

         a.     Compensatory damages in appropriate amounts to be established
                at trial;

         b.     Punitive damages in appropriate amounts to be established at trial;

         c.     Costs associated with this action; and

         d.     Such other and further relief as the Court deems just and
                appropriate to protect Plaintiffs’ rights and interests.

                                     COUNT XI
                            (TORTIOUS INTERFERENCE
                               NorthStream vs. Hodges)

         149.   NorthStream re-alleges and incorporate Paragraphs 1 through 101, as if

  fully stated herein.




                                             41
Case 3:23-cv-00811-MMH-LLL       Document 49      Filed 03/29/24   Page 42 of 57 PageID 635




        150.   As more specifically alleged in paragraphs 27-28, 30, and 53-55, above,

  NorthStream had an advantageous contractual and business relationship with

  Celebration Church, of which Hodges was aware.

        151.   As more specifically alleged in paragraph 76, above, NorthStream had

  advantageous contractual and business relationships with Honey Lake Farms, Honey

  Lake Clinic, and AWKNG, of which Hodges was aware

        152.   As alleged in paragraphs 31-50, 56-58, and 78-100, Hodges, directly and

  through others acting at his direction and under his control, including Rizzo, Siebeling,

  Timberlake, Cormier, Sullivan, Middlebrook Goodspeed, and/or Wedekind and Ahr,

  intentionally and unjustifiably interfered with NorthStream’s advantageous

  contractual and business relationships with Celebration Church and Honey Lake

  Farms, Honey Lake Clinic, and AWKNG, as a direct and proximate result of which,

  NorthStream suffered substantial economic damages in amounts to be proven at trial.

        153.   Hodges’ actions alleged herein were unjustified, unlawful and committed

  maliciously and deliberately with an intent to injure NorthStream and cause it

  substantial harm; committed with actual knowledge of the wrongfulness of the

  conduct and the high probability that injury and damage would result, and despite that

  knowledge, Hodges intentionally pursued such course of conduct, resulting in injury

  and damages to NorthStream; and/or were committed in conscious disregard of

  NorthStream’s rights.

        WHEREFORE, Plaintiff, NorthStream, demand judgment against Defendant,

  Chris Hodges, awarding:


                                             42
Case 3:23-cv-00811-MMH-LLL       Document 49      Filed 03/29/24   Page 43 of 57 PageID 636




         a.     Compensatory damages in appropriate amounts to be established
                at trial;

         b.     Punitive damages in appropriate amounts to be established at trial;

         c.     Costs associated with this action; and

         d.     Such other and further relief as the Court deems just and
                appropriate to protect Plaintiffs’ rights and interests.

                                    COUNT XII
                            (TORTIOUS INTERFERENCE
                               NorthStream vs. Rizzo)

         154.   NorthStream re-alleges and incorporate Paragraphs 1 through 101, as if

  fully stated herein.

         155.   As more specifically alleged in paragraphs 27-28, 30, and 53-55, above,

  NorthStream had advantageous contractual and business relationships with

  Celebration Church, of which Rizzo was aware.

         156.   As more specifically alleged in paragraph 76, above, NorthStream had

  advantageous contractual and business relationships with Honey Lake Farms, Honey

  Lake Clinic, and AWKNG, of which Rizzo was aware

         157.   As alleged in paragraphs 31-50, 56-68, and 78-99, Rizzo, directly and

  through others acting at his direction and under his control, including Timberlake,

  Cormier, Sullivan,     Middlebrook Goodspeed, and/or Wedekind and Ahr,

  intentionally and unjustifiably interfered with NorthStream advantageous contractual

  and business relationships with Celebration Church and Honey Lake Farms, Honey

  Lake Clinic, and AWKNG, as a direct and proximate result of which, NorthStream

  suffered substantial economic damages in amounts to be proven at trial.

                                             43
Case 3:23-cv-00811-MMH-LLL       Document 49      Filed 03/29/24   Page 44 of 57 PageID 637




         158.   Rizzo’s actions alleged herein were unjustified, unlawful and committed

  maliciously and deliberately with an intent to injure NorthStream and cause it

  substantial harm; committed with actual knowledge of the wrongfulness of the

  conduct and the high probability that injury and damage would result, and despite that

  knowledge, Rizzo intentionally pursued such course of conduct, resulting in injury

  and damages to NorthStream; and/or were committed in conscious disregard of

  NorthStream’s rights.

         WHEREFORE, Plaintiff, NorthStream, demands judgment against Defendant,

  Dino Rizzo, awarding:

         a.     Compensatory damages in appropriate amounts to be established
                at trial;

         b.     Punitive damages in appropriate amounts to be established at trial;

         c.     Costs associated with this action; and

         d.     Such other and further relief as the Court deems just and
                appropriate to protect Plaintiffs’ rights and interests.

                                   COUNT XIII
                            (TORTIOUS INTERFERENCE
                               Weems Group vs. ARC)

         159.   Weems Group re-alleges and incorporate Paragraphs 1 through 101, as

  if fully stated herein.

         160.   As more specifically alleged in paragraph 29, above, Weems Group had

  an advantageous contractual and business relationship with and invested in

  NorthStream, of which ARC was aware.




                                             44
Case 3:23-cv-00811-MMH-LLL      Document 49      Filed 03/29/24   Page 45 of 57 PageID 638




        161.   As alleged in paragraphs 31-5056-68, and 78-100, ARC, through its

  agents, Hodges, Rizzo, and Siebeling, and others acting at their direction or under

  their control, intentionally and unjustifiably interfered with Weems Group’s

  advantageous contractual and business relationships with NorthStream a, as a direct

  and proximate result of which, Weems Group suffered substantial economic damages

  in amounts to be proven at trial.

        162.   ARC’s actions alleged herein were unjustified, unlawful and committed

  maliciously and deliberately with an intent to injure Weems Group and cause them

  substantial harm; committed with actual knowledge of the wrongfulness of the

  conduct and the high probability that injury and damage would result, and despite that

  knowledge, ARC intentionally pursued such course of conduct, resulting in injury and

  damages to Weems Group; and/or were committed in conscious disregard of Weems

  Group’s rights.

        WHEREFORE, Plaintiff, Weems Group, demands judgment against

  Defendant, Association of Related Churches, Inc., awarding:

        a.     Compensatory damages in appropriate amounts to be established
               at trial;

        b.     Punitive damages in appropriate amounts to be established at trial;

        c.     Costs associated with this action; and

        d.     Such other and further relief as the Court deems just and
               appropriate to protect Plaintiffs’ rights and interests.




                                            45
Case 3:23-cv-00811-MMH-LLL       Document 49      Filed 03/29/24   Page 46 of 57 PageID 639




                                   COUNT XIV
                            (TORTIOUS INTERFERENCE
                              Weems Group vs. Hodges)

         163.   Weems Group re-alleges and incorporate Paragraphs 1 through 101, as

  if fully stated herein.

         164.   As more specifically alleged in paragraph 29, above, Weems Group had

  an advantageous contractual and business relationship with and invested in

  NorthStream, of which Hodges was aware.

         165.   As alleged in paragraphs 51-30, 56-68, and 78-100, Hodges, directly and

  through others acting at his direction and under his control, including Rizzo, Siebeling,

  Timberlake, Cormier, Sullivan, Middlebrook Goodspeed, and/or Wedekind and Ahr,

  intentionally and unjustifiably interfered with Weems Group’s advantageous

  contractual and business relationships with NorthStream, as a direct and proximate

  result of which, Weems Group suffered substantial economic damages in amounts to

  be proven at trial.

         166.   Hodges’ actions alleged herein were unjustified, unlawful and committed

  maliciously and deliberately with an intent to injure Weems Group and cause it

  substantial harm; committed with actual knowledge of the wrongfulness of the

  conduct and the high probability that injury and damage would result, and despite that

  knowledge, Hodges intentionally pursued such course of conduct, resulting in injury

  and damages to Weems Group; and/or were committed in conscious disregard of

  Weems Group’s rights.




                                             46
Case 3:23-cv-00811-MMH-LLL       Document 49       Filed 03/29/24   Page 47 of 57 PageID 640




         WHEREFORE, Plaintiff, Weems Group, demand judgment against

  Defendant, Chris Hodges, awarding:

         a.     Compensatory damages in appropriate amounts to be established
                at trial;

         b.     Punitive damages in appropriate amounts to be established at trial;

         c.     Costs associated with this action; and

         d.     Such other and further relief as the Court deems just and
                appropriate to protect Plaintiffs’ rights and interests.

                                     COUNT XV
                              (TORTIOUS INTERFERENCE
                                 Weems Group vs. Rizzo)

         167.   Weems Group re-alleges and incorporate Paragraphs 1 through 101, as

  if fully stated herein.

         168.   As more specifically alleged in paragraph 29, above, Weems Group had

  advantageous contractual and business relationships with and invested in

  NorthStream, of which Rizzo was aware.

         169.   As alleged in paragraphs 31-50, 56-68, and 78-100, above, Rizzo, directly

  and through others acting at his direction and under his control, including Timberlake,

  Cormier, Sullivan,        Middlebrook Goodspeed, and/or Wedekind and Ahr,

  intentionally and unjustifiably interfered with Weems Group advantageous

  contractual and business relationships with Celebration Church and NorthStream, as

  a direct and proximate result of which, Weems Group suffered substantial economic

  damages in amounts to be proven at trial.




                                              47
Case 3:23-cv-00811-MMH-LLL       Document 49      Filed 03/29/24   Page 48 of 57 PageID 641




        170.   Rizzo’s actions alleged herein were unjustified, unlawful and committed

  maliciously and deliberately with an intent to injure Weems Group and cause it

  substantial harm; committed with actual knowledge of the wrongfulness of the

  conduct and the high probability that injury and damage would result, and despite that

  knowledge, Rizzo intentionally pursued such course of conduct, resulting in injury

  and damages to Weems Group; and/or were committed in conscious disregard of

  Weems Group’s rights.

        WHEREFORE, Plaintiff, Weems Group, demands judgment against

  Defendant, Dino Rizzo, awarding:

        a.     Compensatory damages in appropriate amounts to be established
               at trial;

        b.     Punitive damages in appropriate amounts to be established at trial;

        c.     Costs associated with this action; and

        d.     Such other and further relief as the Court deems just and
               appropriate to protect Plaintiffs’ rights and interests.

                                    COUNT XVI
                                  (CONSPIRACY
                              Weems vs. Hodges and Rizzo)

        171.   S. Weems and K. Weems re-allege and incorporate Paragraphs 1 through

  101, and Counts II and III, above, as if fully stated herein.

        172.   As more specifically alleged in Counts II and III, above, S. Weems and

  K. Weems had advantageous contractual and business relationships with Celebration

  Church, of which Hodges and Rizzo were aware.




                                             48
Case 3:23-cv-00811-MMH-LLL     Document 49         Filed 03/29/24   Page 49 of 57 PageID 642




        173.   As alleged in paragraphs 47, 57, and 101, above, Hodges and Rizzo

  expressly or tacitly agreed and conspired with one another and others, including

  Siebeling, Timberlake, Cormier, Sullivan, Middlebrook Goodspeed, and/or

  Wedekind and Ahr, to intentionally and unjustifiably interfere with S. Weems and

  K. Weems advantageous contractual and business relationships with Celebration

  Church.

        174.   As alleged in paragraphs 31-50, 56-68, and 78-100, above, Hodges and

  Rizzo each committed overt acts in pursuance and furtherance of their conspiracy.

        175.   In doing so, Hodges and Rizzo agreed and conspired to do an unlawful

  act or a lawful act by unlawful means.

        176.   As a direct and proximate result, S. Weems and K. Weems suffered

  damages in amounts to be proven at trial.

        177.   Hodges’ and Rizzo’s ’actions alleged herein were unjustified, unlawful

  and committed maliciously and deliberately with an intent to injure S. Weems and

  K. Weems and cause them substantial harm; were committed with actual knowledge

  of the wrongfulness of the conduct and the high probability that injury and damage to

  S. Weems and K. Weems would result, and despite that knowledge, and they

  intentionally pursued their course of conduct, resulting in injury and damages to

  S. Weems and K. Weems; and/or were committed in conscious disregard of the

  S. Weems and K. Weems rights.

        WHEREFORE, Plaintiffs, S. Weems and K. Weems, demand judgment

  against Defendants, Chris hodges and Dino Rizzo, awarding:


                                              49
Case 3:23-cv-00811-MMH-LLL      Document 49      Filed 03/29/24   Page 50 of 57 PageID 643




        a.     Compensatory damages in appropriate amounts to be established
               at trial;

        b.     Punitive damages in appropriate amounts to be established at trial;

        c.     Costs associated with this action; and

        d.     Such other and further relief as the Court deems just and
               appropriate to protect Plaintiffs’ rights and interests.

                                    COUNT XVII
                                   (CONSPIRACY
                       Celebration Global vs. Hodges and Rizzo)

        178.   Celebration Global re-alleges and incorporates Paragraphs 1 through

  101, and Counts V and VI, above, as if fully stated herein.

        179.   As more specifically alleged in Counts V and VI, above, Celebration

  Global had advantageous contractual and business relationships with Celebration

  Church, of which Hodges and Rizzo were aware.

        180.   As alleged in paragraphs 47, 57, and 101, above, Hodges and Rizzo

  expressly or tacitly agreed and conspired with one another and others, including

  Siebeling, Timberlake, Cormier, Sullivan, Middlebrook Goodspeed, and/or

  Wedekind and Ahr, to intentionally and unjustifiably interfere with Celebration

  Global ‘s advantageous contractual and business relationships with Celebration

  Church.

        181.   As alleged in paragraphs 31-50, 56-68, and 78-100, above, Hodges and

  Rizzo each committed overt acts in pursuance and furtherance of their conspiracy.

        182.   In doing so, Hodges and Rizzo agreed and conspired to do an unlawful

  act or a lawful act by unlawful means.

                                            50
Case 3:23-cv-00811-MMH-LLL          Document 49      Filed 03/29/24   Page 51 of 57 PageID 644




            183.   As a direct and proximate result, Celebration Global suffered damages in

  amounts to be proven at trial.

            184.   Hodges’ and Rizzo’s ’actions alleged herein were unjustified, unlawful

  and committed maliciously and deliberately with an intent to injure Celebration

  Global and cause it substantial harm; were committed with actual knowledge of the

  wrongfulness of the conduct and the high probability that injury and damage to

  Celebration Global would result, and despite that knowledge, and they intentionally

  pursued their course of conduct, resulting in injury and damages to Celebration

  Global; and/or were committed in conscious disregard of the Celebration Global ’s

  rights.

            WHEREFORE, Plaintiff, Celebration Global, demands judgment against

  Defendants, Chris Hodges and Dino Rizzo, awarding:

            a.     Compensatory damages in appropriate amounts to be established
                   at trial;

            b.     Punitive damages in appropriate amounts to be established at trial;

            c.     Costs associated with this action; and

            d.     Such other and further relief as the Court deems just and
                   appropriate to protect Plaintiffs’ rights and interests.

                                      COUNT XVIII
                                     (CONSPIRACY
                          Honey Lake Farms vs. Hodges and Rizzo)

            185.   Honey Lake Farms re-alleges and incorporates Paragraphs 1 through

  101, and Counts VIII and IX, above, as if fully stated herein.




                                                51
Case 3:23-cv-00811-MMH-LLL      Document 49     Filed 03/29/24   Page 52 of 57 PageID 645




        186.   As more specifically alleged in Counts VIII and IX, above, Honey Lake

  Farms had advantageous contractual and business relationships with Celebration

  Church, Surratt, Robertson, Wildwood Ranch, and Maura, of which Hodges and

  Rizzo were aware.

        187.   As alleged in paragraphs 47, 57, and 101, above, Hodges and Rizzo

  expressly or tacitly agreed and conspired with one another and others, including

  Siebeling, Timberlake, Cormier, Sullivan, Middlebrook Goodspeed, and/or

  Wedekind and Ahr, to intentionally and unjustifiably interfere with Honey Lake

  Farm’s advantageous contractual and business relationships with Celebration Church,

  Surratt, Robertson, Wildwood Ranch, and Maura.

        188.   As alleged in paragraphs 31-50, 56-68, and 78-100, above, Hodges and

  Rizzo each committed overt acts in pursuance and furtherance of their conspiracy.

        189.   In doing so, Hodges and Rizzo agreed and conspired to do an unlawful

  act or a lawful act by unlawful means.

        190.   As a direct and proximate result, Honey Lake Farms suffered damages

  in amounts to be proven at trial.

        191.   Hodges’ and Rizzo’s ’actions alleged herein were unjustified, unlawful

  and committed maliciously and deliberately with an intent to injure Honey Lake

  Farms and cause it substantial harm; were committed with actual knowledge of the

  wrongfulness of the conduct and the high probability that injury and damage to Honey

  Lake Farms would result, and despite that knowledge, and they intentionally pursued




                                           52
Case 3:23-cv-00811-MMH-LLL      Document 49       Filed 03/29/24   Page 53 of 57 PageID 646




  their course of conduct, resulting in injury and damages to Honey Lake Farms; and/or

  were committed in conscious disregard of the Honey Lake Farms’ rights.

        WHEREFORE, Plaintiff, Honey Lake Farms, demands judgment against

  Defendants, Chris Hodges and Dino Rizzo, awarding:

        a.     Compensatory damages in appropriate amounts to be established
               at trial;

        b.     Punitive damages in appropriate amounts to be established at trial;

        c.     Costs associated with this action; and

        d.     Such other and further relief as the Court deems just and
               appropriate to protect Plaintiffs’ rights and interests.

                                    COUNT XIX
                                   (CONSPIRACY
                          NorthStream vs. Hodges and Rizzo)

        192.   NorthStream re-alleges and incorporate Paragraphs 1 through 101,and

  Counts XI and XII, as if fully stated herein.

        193.   As more specifically alleged in Counts XI and XII, above, NorthStream

  had an advantageous contractual and business relationships with Celebration Church,

  Honey Lake Farms, Honey Lake Clinic, and AWKNG, of which Defendants were

  aware.

        194.   As alleged in paragraphs 47, 57, and 101, above, Hodges and Rizzo

  expressly or tacitly agreed and conspired with one another and others, including

  Siebeling, Timberlake, Cormier, Sullivan, Middlebrook Goodspeed, and/or

  Wedekind and Ahr, to intentionally and unjustifiably interfere with NorthStream’s




                                             53
Case 3:23-cv-00811-MMH-LLL         Document 49   Filed 03/29/24   Page 54 of 57 PageID 647




  advantageous contractual and business relationships with Celebration Church, Honey

  Lake Farms, Honey Lake Clinic, and AWKNG.

        195.   As alleged in paragraphs 31-50, 56-68, and 78-100, above, Hodges and

  Rizzo each committed overt acts in pursuance and furtherance of their conspiracy.

        196.   In doing so, Hodges and Rizzo agreed and conspired to do an unlawful

  act or a lawful act by unlawful means.

        197.   As a direct and proximate result, NorthStream suffered damages in

  amounts to be proven at trial.

        198.   Hodges’ and Rizzo’s ’actions alleged herein were unjustified, unlawful

  and committed maliciously and deliberately with an intent to injure NorthStream and

  cause it substantial harm; were committed with actual knowledge of the wrongfulness

  of the conduct and the high probability that injury and damage to NorthStream would

  result, and despite that knowledge, and they intentionally pursued their course of

  conduct, resulting in injury and damages to NorthStream; and/or were committed in

  conscious disregard of the NorthStream’s rights.

        WHEREFORE,          Plaintiff,   NorthStream,    demands    judgment     against

  Defendants, Chris Hodges and Dino Rizzo, awarding:

        a.     Compensatory damages in appropriate amounts to be established
               at trial;

        b.     Punitive damages in appropriate amounts to be established at trial;

        c.     Costs associated with this action; and

        d.     Such other and further relief as the Court deems just and
               appropriate to protect Plaintiffs’ rights and interests.


                                            54
Case 3:23-cv-00811-MMH-LLL        Document 49     Filed 03/29/24   Page 55 of 57 PageID 648




                                   COUNT XX
                                 (CONSPIRACY
                            Weems Group vs. Defendants)

        199.   Weems Group re-alleges and incorporate Paragraphs 1 through 101, and

  Counts XIV and XV, as if fully stated herein.

        200.   As more specifically alleged in Counts XIV and XV, above, Weems

  Group had an advantageous contractual and business relationship with NorthStream,

  of which Defendants were aware.

        201.   As alleged in paragraphs 47, 57, and 101, above, Hodges and Rizzo

  expressly or tacitly agreed and conspired with one another and others, including

  Siebeling, Timberlake, Cormier, Sullivan, Middlebrook Goodspeed, and/or

  Wedekind and Ahr, to intentionally and unjustifiably interfere with Weems Group’s

  advantageous contractual and business relationships with NorthStream.

        202.   As alleged in paragraphs 31-50, 56-68, and 78-100, above, Hodges and

  Rizzo each committed overt acts in pursuance and furtherance of their conspiracy.

        203.   In doing so, Hodges and Rizzo agreed and conspired to do an unlawful

  act or a lawful act by unlawful means.

        204.   As a direct and proximate result, Weems Group suffered damages in

  amounts to be proven at trial

        205.   Hodges’ and Rizzo’s actions alleged herein were unjustified, unlawful

  and committed maliciously and deliberately with an intent to injure Weems Group

  and cause them substantial harm; were committed with actual knowledge of the

  wrongfulness of the conduct and the high probability that injury and damage to

                                           55
Case 3:23-cv-00811-MMH-LLL      Document 49       Filed 03/29/24   Page 56 of 57 PageID 649




  Weems Group would result, and despite that knowledge, and they intentionally

  pursued their course of conduct, resulting in injury and damages to Weems Group;

  and/or were committed in conscious disregard of Weems Group’s rights.

        WHEREFORE, Plaintiff, Weems Group, demands judgment against

  Defendants, Chris Hodges and Dino Rizzo, awarding:

        a.    Compensatory damages in appropriate amounts to be established
              at trial;

        b.    Punitive damages in appropriate amounts to be established at trial;

        c.    Costs associated with this action; and

        d.    Such other and further relief as the Court deems just and
              appropriate to protect Plaintiffs’ rights and interests.

                             DEMAND FOR JURY TRIAL

        Plaintiffs hereby demand a trial by jury on all issues so triable.

                                                  Respectfully submitted,

                                                  /s/ Shane B. Vogt
                                                  Shane B. Vogt – FBN 257620
                                                  E-mail: svogt@tcb-law.com
                                                  David A. Hayes - FBN 096657
                                                  E-mail: dhayes@tcb-law.com
                                                  TURKEL CUVA BARRIOS, P.A.
                                                  100 North Tampa Street, Suite 1900
                                                  Tampa, Florida 33602
                                                  Tel: (813) 834-9191
                                                  Fax: (813) 443-2193
                                                  Attorneys for Plaintiffs




                                             56
Case 3:23-cv-00811-MMH-LLL      Document 49     Filed 03/29/24   Page 57 of 57 PageID 650




                            CERTIFICATE OF SERVICE
         I HEREBY CERTIFY that on March 29, 2024, the foregoing document was
  filed with the Court’s CM/ECF system, which will send electronic notice to all counsel
  of record.
                                                /s/ Shane B. Vogt
                                                Attorney




                                           57
